                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
_______________________________________
                                        )
UNITED STATES OF AMERICA                ) Docket No. 3:16-cr-97-FDW
                                        )
            v.                          )
                                        ) ORDER
(3) ANGEL NUNEZ MARTINEZ                )
_______________________________________ )


       This matter is before the Court on the Motion of the United States of America to dismiss

the charges against Defendant Angel Nunez Martinez in the Bill of Indictment in the above-

captioned case without prejudice.

       It is hereby ordered that the motion be GRANTED and the charges against Defendant

Angel Nunez Martinez in the above-captioned Bill of Indictment be dismissed without prejudice.

       SO ORDERED this 5th day of June 2017.


                                           Signed: June 5, 2017




    Case 3:16-cr-00097-FDW-DCK           Document 48         Filed 06/05/17   Page 1 of 1
